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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


    PARKERVISION, INC.,                          )
                                                 )
                   Plaintiff,                    )
                                                 )
    v.                                           )       Case No. 3:15-cv-01477-BJD-MCR
                                                 )
    APPLE INC., et al.,                          )
                                                 )
                   Defendants.                   )
                                                 )


         JOINT STATUS REPORT AS TO THE STATUS OF THE ORLANDO CASE

           On April 21, 2020, Plaintiff ParkerVision, Inc. and Defendant Apple Inc. (“Apple”)

    filed an unopposed motion to stay this action (as to all parties) pending a final judgment

    (including any appeals) or settlement in the related Orlando Case. Defendant Qualcomm

    Incorporated (“Qualcomm”) did not oppose. ECF No. 245. On April 30, 2020, the Court

    granted the parties’ Unopposed Motion to Stay. ECF No. 247. The parties respectfully submit

    this Joint Status Report as to the Status of the Orlando Case as required by ECF No. 247.

           On March 22, 2022, the Court granted Qualcomm’s Motion for Summary Judgment of

    Noninfringement of the remaining patents in the Orlando Case. See ParkerVision, Inc. v.

    Qualcomm Inc., et al, No. 14-cv-687, ECF No. 685. Judgment was entered in Qualcomm’s

    favor on March 23, 2022. See ParkerVision, Inc. v. Qualcomm Inc., et al, No. 14-cv-687, ECF

    No. 687. ParkerVision filed a notice of appeal on April 20, 2022. See ParkerVision, Inc. v.

    Qualcomm Inc., et al, No. 14-cv-687, ECF No. 693. ParkerVision filed its opening brief on




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    August 18, 2022. Qualcomm’s responsive brief is currently due November 14, 2022. As such,

    the parties request that the stay remain in place.

    Dated: October 24, 2022

     DAIGNAULT IYER LLP                            WEIL, GOTSHAL & MANGES LLP

     By /s/ Ronald M. Daignault                    By /s/ Anne Cappella
     Ronald M. Daignault, Lead Counsel             Edward Soto
     (admitted pro hac vice)                       Florida Bar Number: 265144
     New York Bar Number 2476372                   edward.soto@weil.com
     (917) 938-9795                                WEIL, GOTSHAL & MANGES LLP
     (571) 279-0953 (facsimile)                    1395 Brickell Ave, Suite 1200
     rdaignault@daignaultiyer.com                  Miami, FL 33131
     Chandran B. Iyer                              Phone: (305)577-3177
     (admitted pro hac vice)                       Fax: (305)374-7159
     DC Bar Number 1019078
     New York Bar Number 4152658                   Anne Cappella (pro hac vice)
     Virginia Bar Number 94100                     anne.cappella@weil.com
     (202) 330-1666                                WEIL, GOTSHAL & MANGES LLP
     (571) 279-0953 (facsimile)                    201 Redwood Shores Parkway Redwood
     cbiyer@daignaultiyer.com                      Shores, CA 94065
     8618 Westwood Center Drive                    Phone: (650) 802-3985
     Suite 150                                     Fax: (650) 802-3100
     Vienna, Virginia 22182
                                                   Counsel for Defendant Apple Inc.
     SMITH HULSEY & BUSEY
                                                   COOLEY LLP
     Stephen D. Busey
     John R. Thomas                                By /s/ Matthew J. Brigham
     Florida Bar Number 117790                     Stephen C. Neal
     Florida Bar Number 77107                      (admitted pro hac vice; Trial Counsel)
     One Independent Drive, Suite 3300             nealsc@cooley.com
     Jacksonville, Florida 32202                   Matthew J. Brigham (admitted pro hac vice)
     Tel: (904) 359-7700                           mbrigham@cooley.com
     Fax: (904) 359-7708                           Jeffrey Karr (admitted pro hac vice)
     busey@smithhulsey.com                         jkarr@cooley.com
     jthomas@smithhulsey.com                       Dena Chen (admitted pro hac vice)
                                                   dchen@cooley.com
                                                   3175 Hanover Street
     Counsel for Plaintiff ParkerVision, Inc.      Palo Alto, CA 94306-2155
                                                   Phone: (650) 843-5000
                                                   Fax: (650) 849-7400


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                                                 Eamonn Gardner (admitted pro hac vice)
                                                 egardner@cooley.com
                                                 1144 15th Street, Suite 2300
                                                 Denver, CO 80202-2686
                                                 Telephone: (720) 566-4000
                                                 Facsimile: (720) 720-566-4099

                                                 Stephen Smith (admitted pro hac vice)
                                                 ssmith@cooley.com
                                                 1299 Pennsylvania Avenue, NW, Suite 700
                                                 Washington, DC 20004
                                                 Phone: (202) 842-7800
                                                 Fax: (202) 842-7899

                                                 BEDELL, DITTMAR, DEVAULT,
                                                 PILLANS & COXE, P.A.

                                                 John A. DeVault, III
                                                 Florida Bar No. 103979
                                                 jad@bedellfirm.com
                                                 Michael E. Lockamy
                                                 Florida Bar No. 069626
                                                 mel@bedellfirm.com
                                                 The Bedell Building
                                                 101 East Adams Street
                                                 Jacksonville, Florida 32202
                                                 Telephone: (904) 353-0211
                                                 Facsimile: (904) 353-9307

                                                 Counsel for Defendant Qualcomm
                                                 Incorporated



    * Attorneys Daignault and Cappella have authorized the use of their electronic signatures.




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                                   CERTIFICATE OF SERVICE

            I certify that on October 24, 2022, I electronically filed the foregoing with the Clerk of

    Court by using the CM/ECF system. I further certify that I mailed the foregoing document and

    the notice of electronic filing by first-class mail to the following non-CM/ECF participants:

    none.

                                                              /s/ Matthew J. Brigham
                                                                Matthew J. Brigham




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